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                                   STATEMENT OF FACTS

        Your affiant, Miriam M. Oviedo-Clark, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and has been since 2010. I am currently assigned to the Charlotte Division,
Asheville Resident Agency. As a Special Agent, I am a law enforcement officer of the United
States as defined by Section 2510(7) of Title 18, United States Code (U.S.C.), that is, an officer of
the United States who is empowered by law to conduct investigations and make arrests for
violations of Federal criminal laws.

        This affidavit is intended to show that there is sufficient probable cause for the requested
warrant and does not set forth all my knowledge about this matter. The facts in this affidavit come
from my personal observations, my training experience, and information obtained from other law
enforcement officers and witnesses. This affidavit is intended to show merely that there is
sufficient probable cause for the requested warrant and does not set forth all my knowledge about
this matter.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President


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Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.


    IDENTIFICATION OF ANTHONY MASTANDUNO AND HIS INVOLVEMENT
                   IN THE EVENTS OF JANUARY 6, 2021

       On February 17, 2021, the FBI arrested Glenn Wes Lee Croy of Colorado Springs,
Colorado pursuant to a complaint and arrest warrant arising out of Croy’s unlawful conduct at the
U.S. Capitol Building on January 6, 2021. See United States v. Croy, No. 1:21-cr-162 (BAH),
ECF No. 13. At the same time, law enforcement officers seized Croy’s cell phone, which
subsequently was searched pursuant to a warrant issued in the District of Colorado.

         During the search of Croy’s cell phone, the FBI discovered a photograph of an unknown
individual who appeared to be unlawfully present in the U.S. Capitol Building, near the Memorial
Door, next to a bust of Václav Havel. An analysis of the metadata from the photograph reflects
that it was captured at 2:34.32 p.m. on January 6, 2021. The individual was a white male, 55 to
60 years old, with prominent ears, wearing a red baseball cap with a patch on the bill and “Trump
2020 Keep America Great!” embroidered in white thread, a camouflage jacket, and a backpack.

       The image from Croy’s cell phone is shown below:




                                            Figure 1


        The FBI reviewed Closed Circuit Television (“CCTV”) footage taken of the area near the
Memorial Door on January 6, 2021 for individuals that looked like the unknown subject pictured
above. The same individual, wearing a red baseball cap with a patch on the bill and camouflage
jacket, appeared in footage taken at 2:34.32 p.m., while posing for a picture taken by Croy.

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                                            Figure 2
       CCTV footage taken at around 2:17 p.m. on January 6, 2021 showed the same individual
unlawfully entering the U.S. Capitol Building through the Senate Wing Door, approximately four
minutes after it was first breached.




                                            Figure 3
        Publicly available video taken just inside the Senate Wing Door on January 6, 2021 also
shows the same individual in a red baseball cap and camouflage jacket, pants, and backpack, with
a blue face mask under his chin, unlawfully present in the Capitol Building:

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                                             Figure 4
        Additional CCTV, open-source, and cell phone videos shows the same individual at the
front of a line of rioters who overwhelmed officers in the Crypt at approximately 2:23 p.m. on
January 6, 2021.




                                             Figure 5
        The FBI then reviewed video footage that is publicly available over the internet through
video sharing websites and social media platforms. Third-party entities created websites which
posted and categorized these videos in an effort to identify individuals who might have committed
criminal acts. Those websites contained pictures of the individual described and pictured above.
In those videos, the individual is engaged with fellow rioters in coordinated attacks on uniformed
MPD Officers who were defending a tunnel entrance to the Capitol on January 6, 2021. Videos
and still images taken by individuals in the crowd at around 4:30 p.m. showed the presence of the
same individual, wearing the same red baseball cap, camouflage jacket, backpack, blue face mask,
and sometimes plastic goggles. The individual used a stolen police shield to push into the tunnel,

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threw an object toward officers in the tunnel, and utilized a telescoping baton to strike at officers.

        Certain unknown individuals have been given nicknames by third-party entities for the
logical categorization of their open-source video appearances. The individual described and
pictured above was given the hashtag name of “#ShieldGrampy,” due to his age and his use of a
stolen police shield to assault MPD officers at the entrance to the tunnel.




                                               Figure 6




                                              Figure 7

                                                  5
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        As he initially approached the police line at the tunnel, the individual was holding a baton-
like object with his gray gloves, and wore a red baseball cap, a backpack, and goggles. However,
as the violence towards the police line increased, the bill of the individual’s baseball cap hit the
shield he was holding, knocking the hat off his head.




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                                              Figure 8

       The individual then proceeded with his barrage against the police line, this time without
the baseball cap. At some point later, however, the individual appears to re-don the baseball cap.




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                                           Figure 9

         CCTV and police body-worn camera footage taken on January 6, 2021 at around 4:32 p.m.
shows the same individual assaulting officers using a baton, police shield, and blue pole-like
object, at the front of a mob that was attacking officers in the tunnel area.




                                          Figure 10




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                                           Figure 11
       Cell phone video obtained pursuant to a federal search warrant was introduced during the
sentencing of Mariposa Castro for her conduct on January 6, case number 1:21-cr-299 (RBW).
That video was taken from steps away from the tunnel and shows #ShieldGrampy, at or around
4:45 p.m., suffering from the effects of the chemical spray used by rioters and the officers
defending the Capitol Building. The individual, wearing the same red baseball cap with a patch
on the bill, camouflage jacket, and goggles, speaks with Castro and another individual, and
speculates that the chemical spray contains seaweed.




                                           Figure 12


                                              8
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               Figure 14                                           Figure 15

        Mastanduno’s publicly accessible Facebook page also included information reflecting that
he worked at PSEG Long Island, lived in Farmingdale, New York, and was married to
Mastanduno. Facebook “friends” of Mastanduno, who include his wife and children, identify him
as a veteran of the Marine Corps. In a post dated November 6, 2020, three days after the election,
Mastanduno stated the following:




                                            Figure 16

       In a post dated November 7, 2020, the date on which media organizations declared Joseph
R. Biden, Jr. as the winner of the 2020 presidential election, Mastanduno posted the following:




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                                             Figure 17

        On September 26, 2022, legal process was issued to Meta Platforms, Inc., the parent
organization of Facebook, seeking subscriber information for accounts that were linked to the
name Anthony Mastanduno, Facebook ID 100053776845887. Facebook returned documentation
in response to the legal process. The information provided by Facebook identified the subscriber
of the account as “Anthony Mastanduno.” The username assigned to the account was
anthony.mastanduno.1, and the account was created on July 25, 2020.

        The FBI contacted Mastanduno’s employer, PSEG, and learned that Mastanduno worked
on January 5, 2021, and then was absent on January 6 and 7, 2021. Additional investigation
revealed that the car registered to           Mastanduno was observed at 5:22 p.m. on January
5, 2021, traveling westbound on the Belt Parkway and Verrazano Bridge in the direction of
Washington, D.C. Mastanduno’s credit union records show a $33.28 purchase at a Royal Farms
gas station in Elkridge, Maryland, near Interstate 95, on January 5, 2022, and a purchase from
Alina Enterprise, an Exxon gas station at 200 Massachusetts Avenue NE in Washington, D.C., on
January 6, 2021. The Exxon gas station is located less than a half mile northeast of the U.S Capitol
Building. The vehicle registered to            Mastanduno then was observed on January 7, 2021
at 1:24 a.m., inbound on the Verrazano Narrows Bridge toward Mastanduno’s home.

        On December 6, 2022, the FBI interviewed an individual who works at PSEG Long Island,
which confirmed PSEG Long Island to be Mastanduno’s employer. The individual interacted with
Mastanduno at work within the last few months and had the opportunity to observe Mastanduno
for an extended amount of time. The FBI showed the individual the image contained in Figure 1,
above, which was taken inside the Capitol Building on January 6, 2021 at 2:34.32 p.m. The
individual identified the person standing next to a bust of Václav Havel and wearing a red baseball
cap with a patch on the bill and camouflage jacket as Mastanduno, stating, “I know this person to
be Anthony Mastanduno.”

         Based on the foregoing, I submit that there is probable cause to believe that Anthony
Mastanduno violated 18 U.S.C. §§111(a)(1) and (b), which make it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with certain designated individuals, and to use a
deadly or dangerous weapon or inflict bodily injury during the commission of such acts. Within
the meaning of this statute, a designated individual is an officer or employee of the United States
or of any agency in a branch of the United States Government (including any member of the

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